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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )             CASE NO. 8:05CR94
                                                )
               Plaintiff,                       )
                                                )
               vs.                              )                    ORDER
                                                )
THOMAS WILSON,                                  )
                                                )
               Defendant.                       )

        This matter is before the Court on a third party’s request for a transcript (Filing No.

425).

        The third party requests a transcript of a hearing held on February 15, 2007. No

hearing was held on that date in this matter.

        IT IS ORDERED that third party’s request for a transcript (Filing No. 425) is denied.

        DATED this 10th day of June, 2008.

                                                    BY THE COURT:


                                                    s/Laurie Smith Camp
                                                    United States District Judge
